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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )    4:05CR3082
     v.                              )
                                     )
LUIS F. NUNEZ and                    )
ERIKA M. PENA,                       )       ORDER
                                     )
     Defendants.



     IT IS ORDERED:

     1. An evidentiary hearing on defendant Pena’s motion to
suppress evidence, filing 24, will be held before the undersigned
on October 26, 2005 at 2:00 p.m. in Courtroom #2, United States
Courthouse and Federal Building, 100 Centennial Mall North,
Lincoln, Nebraska. The hearing is scheduled for a duration of
two and one-half hours. In the event counsel believe additional
time is or may be necessary, they should contact my courtroom
deputy as soon as practicable.

     2. Copies of all exhibits expected to be offered into
evidence during the hearing, except those to be used for
impeachment only, shall be delivered to the chambers of the
undersigned at least two working days prior to the hearing.

     3. The trial of this case, as pertains to ALL defendants,
is continued until further order of the court following
resolution of outstanding motions.

     Dated September 27, 2005.

                                    BY THE COURT



                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
